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 6                         UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                   Plaintiff,    )               CASE NO.      06-303 M
11                               )
             v.                  )
12                               )
                                 )               DETENTION ORDER
13 BERNARDO GOMEZ HERRERA, )
    a.k.a. Roberto Martinez,     )
14                               )
                   Defendant.    )
15 ______________________________)
16 Offense charged:
17            Count I:      Conspiracy to Distribute Heroin, in violation of Title 21, United
18                          States Code, Sections 841(a)(1), 841(b)(1)(B) and 846.
19 Date of Detention Hearing: June 19, 2006.
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22 hereafter set forth, finds that no condition or combination of conditions which the defendant
23 can meet will reasonably assure the appearance of the defendant as required and the safety
24 of any other person and the community. The Government was represented by Lisca
25 Borichewski. The defendant was represented by Catherine Chaney.
26            The Government filed a Motion for Detention, noting that the rebuttable

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 1 presumption applies in this matter in addition to the active BICE detainer filed against the
 2 defendant.
 3           The defendant argued for release, asserting that the rebuttable presumption does
 4 not apply in the instant offense. Additionally, the defendant offered that the issue of the
 5 active BICE detainer could be address in immigration court.
 6       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 7           (1)    There is probable cause to believe the defendant committed the
 8                  conspiracy drug offense. The maximum penalty is in excess of ten years.
 9                  There is therefore a rebuttable presumption against the defendant’s
10                  release based upon both dangerousness and flight risk, under Title 18
11                  U.S.C. § 3142(e).
12           (2)    There is a rebuttable presumption in this case and on this record there is
13                  nothing that satisfactorily rebuts the presumption against release. Here
14                  are several reasons:
15                  (a)    The defendant presents a risk of nonappearance due to the
16                         following: He is a citizen and national of Mexico who is in the
17                         United States illegally; his ties to the Western District of
18                         Washington are unknown; and BICE has filed a detainer;
19                  (b)    The defendant presents a risk of danger based on the nature of the
20                         instant offense.
21           (3)    Based upon the foregoing information which is consistent with the
22                  recommendation of U.S. Pre-trial Services, it appears that there is no
23                  condition or combination of conditions that would reasonably assure
24                  future Court appearances and/or the safety of other persons or the
25                  community.
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 1         It is therefore ORDERED:
 2         (l)   The defendant shall be detained pending trial and committed to the
 3               custody of the Attorney General for confinement in a correction facility
 4               separate, to the extent practicable, from persons awaiting or serving
 5               sentences or being held in custody pending appeal;
 6         (2)   The defendant shall be afforded reasonable opportunity for private
 7               consultation with counsel;
 8         (3)   On order of a court of the United States or on request of an attorney for
 9               the Government, the person in charge of the corrections facility in which
10               the defendant is confined shall deliver the defendant to a United States
11               Marshal for the purpose of an appearance in connection with a court
12               proceeding; and
13         (4)   The clerk shall direct copies of this order to counsel for the United
14               States, to counsel for the defendant, to the United States Marshal, and to
15               the United States Pretrial Services Officer.
16         DATED this 20th day of June, 2006.
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                                              A
                                              Monica J. Benton
                                              U.S. Magistrate Judge
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